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Jihad in Tennessee                                                                                                                SEARCH


                                                                                      by Michael Hill ,  July 16, 2015            search here                   Search



In October 2013, The League of the South held public
                                                                                                                                  FEATURED
demonstrations in Murfreesboro and Shelbyville, Tennessee, to
warn the good people of that state about the dangers of Islamic
jihad in their very midst. Looks like our “racist” concerns have                                                               Understanding the events of today in a historical
been realized with the murder of four US Marines today in                                                                      perspective:
Chattanooga, allegedly by one Muhammad Youssef Abdulazeez
                                                                                                                               The New Red Terror, Part I
(24), a “naturalized citizen” from the Middle East (perhaps Kuwait).
News coverage states that Abdulazeez is “from” nearby Hixson,
                                                                                                                               The New Red Terror, Part II
Tennessee.

Someday folks are going to start listening to us.
                                                                                                                                  RECENT COMMENTS
Michael Hill

                                                                                                                               Michael Greek on The Cultural Vanguard Strategy

              League of the South Demo. Murfreesebor…
                                        Murfreesebor…                                                                          Michael Greek on A statement to concerned
                                                                                                                               Southerners
                                                                                                                               OrthodoxConfederate on Southern Baptists
                                                                                                                               condemn Alt-Right and nationalism
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                                                                                                                               League of the South uniform items and other
                                                                                                                               accessories for all members may now be purchased
                                                                                                                               at Southern Nationalist Shirts & Patches.


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                                                                   SHELBYVILLE, TENNESSEE

                                                                                                                               Activism

                                                                                                                               Commentary
      ABOUT AUTHOR
                                                                                                                               Image/Video

                                                                                                                               News
                     Michael Hill
                                                                                                                               Uncategorized
                     Dr Michael Hill is President of the League of the South. He is a retired university professor of
                     history and author of two books on Celtic warfare.
                                                                                                                                  META


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Charlottesville                            Our survival as a people                       Secession . . . now!




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